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EXHIBIT 1
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colonels.net

Domain Information

Domain: colonels.net
Registrar: Google LLC

Registered On: 2020-03-04

Expires On: 2021-03-04

Updated On: 2020-03-24

Status: clientTransferProhibited

Name Servers: ns-cloud-e1.googledomains.com

ns-cloud-e2.googledomains.com
ns-cloud-e3.googledomains.com
ns-cloud-e4.googledomains.com

Registrant Contact

Name: Contact Privacy Inc. Customer 124¢
